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                        UNITED STATES DISTRICT COURT
6                      WESTERN DISTRICT OF WASHINGTON
                                 AT SEATTLE
7
      JACQUELINE PUZAS,                          CASE NO. 23-cv-01656
8
                         Plaintiff,              ORDER DISMISSING CASE
9
            v.
10
      KING COUNTY ET AL,
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                          Defendants.
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           On July 31, 2024, the Court ordered Plaintiff Jacqueline Puzas to amend her
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     complaint to comply with Rule 8 of the Federal Rules of Civil Procedure. Dkt. No.
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     12. The Court subsequently granted two extensions, moving Puzas’s deadline to
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     November 27, 2024. Dkt. Nos. 14, 16. Puzas did not file an amended complaint by
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     the deadline. Instead, she filed a motion for emergency ex parte relief, citing
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     Federal Rules of Civil Procedure 65, 26, 16, 53, and 57, in addition to several Local
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     Civil Rules. See Dkt. No. 17. Accordingly, the Court ORDERS that Puzas’s case is
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     DISMISSED without prejudice, and all remaining motions are DENIED AS MOOT.
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     ORDER DISMISSING CASE - 1
          Case 2:23-cv-01656-JNW     Document 19       Filed 12/04/24   Page 2 of 2




1          Dated this 4th day of December, 2024.

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3                                                  Jamal N. Whitehead
                                                   United States District Judge
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     ORDER DISMISSING CASE - 2
